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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                       CASE NO. 99-81073
vs.
                                                       HON. GEORGE CARAM STEEH
ALI CHAMI,

              Defendant.
______________________________/

       ORDER SUPPLEMENTING JUDGMENT OF CONVICTION (DOC. #423)
      TO INCLUDE A RECOMMENDATION FOR PLACEMENT OF DEFENDANT
             BY THE BUREAU OF PRISONS IN THE MILAN FEDERAL
                       CORRECTIONAL INSTITUTION

       Upon request by defendant, in order to facilitate family contact, and the court

being fully advised,

       Now therefore, the judgment of conviction is hereby supplemented to include a

recommendation that defendant be placed in custody at the Milan Correctional

Institution, if possible.

Dated: August 31, 2010
                                              S/George Caram Steeh
                                              GEORGE CARAM STEEH
                                              UNITED STATES DISTRICT JUDGE

                                    CERTIFICATE OF SERVICE

                     Copies of this Order were served upon attorneys of record on
                         August 31, 2010, by electronic and/or ordinary mail.

                                        S/Josephine Chaffee
                                            Deputy Clerk
